
352 A.2d 400 (1976)
The NARRAGANSETT ELECTRIC COMPANY
v.
William W. HARSCH et al.
No. 75-218-M. P.
Supreme Court of Rhode Island.
February 26, 1976.
Edwards &amp; Angell, Knight Edwards, Edward F. Hindle, Deming E. Sherman, Providence, for petitioner.
Julius C. Michaelson, Atty. Gen., R. Daniel Prentiss, Special Asst. Atty. Gen., Roberts &amp; Willey Incorporated, Dennis J. Roberts II, (for Consumers' Council) Providence, for respondents.

ORDER
The petitioner's motion that the Attorney General be disallowed from filing a brief in the within case is denied without prejudice to raising the issue in its brief and in oral argument. Counsel for the parties are ordered to discuss in their briefs and oral arguments, in addition to other questions presented, the question of whether the Attorney General represented the public or the Public Utilities Commission and whether or not the Public Utilities Commission is a proper party to this appeal. See Hassell v. Zoning Bd. of Review of E. Providence, 108 R.I. 349, 275 A.2d 646 (1971).
